            Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 1 of 8




                                 EXHIBIT 1




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         Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 2 of 8
     Case 2020CV000350       Document 2         Filed 10-19-2020       Page 1 of 7
                                                                                       FILED
                                                                                       10-19-2020
                                                                                       Circuit Court
                                                                                       St. Croix County, WI
STATE OF WISCONSIN            CIRCUIT COURT       ST CROIX COUNTY COUNTY               2020CV000350
                                                                                       Honorable Scott Needham
AMERICAN FAMILY MUTUAL INSURANCE COMPANY                                               Branch 3
6000 American Parkway
Madison, WI S3783

DAVID AND HEATHER DONOVAN
1448 Quail Run
New Richmond WI 54017-2578


        Plaintiffs,
                                                      Case Code: 30201
v.

TITEFLEX CORPORATION
1116 Vaughn Parkway
Portland, TN 37148

        Defendant.



                                             SUMMONS


        THE STATE OF WISCONSIN, To each person named above as a Defendant:

You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal action
against you. The complaint, which is attached, states the nature and basis of the legal action.

Within 45 days of receiving this summons, you must respond with a written answer, as that term
is used in chapter 802 of the Wisconsin Statutes, to the complaint. The court may reject or
disregard an answer that does not follow the requirements of the statutes. The answer must be
sent or delivered to the court, whose address is:

                                  St. Croix County Clerk of Court
                                  1101 Carmichael Rd, Suite 2402
                                        Hudson, WI 54016


And to the plaintiff's attorney, which is:
        Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 3 of 8
    Case 2020CV000350      Document 2        Filed 10-19-2020       Page 2of7




                               Ron Harmeyer Law Office LLC
                               330 E. Kilbourn Ave., Suite 1070
                                    Milwaukee, WI S3202

You may have an attorney help or represent you.

If you do not provide a proper answer within 4S days, the court may grant judgment against you
for the award of money or other legal action requested in the complaint, and you may lose your
right to object to anything that is or may be incorrect in the complaint. Ajudgment may be
enforced as provided by law. Ajudgment awarding money may become a lien against any real
estate you own now or in the future, and may also be enforced by garnishment or seizure of
property.


Dated: October 18, 2020
                                                   RON HARMEYER LAW OFFICE LLC
                                                   Attorneys for American Family Mutual
                                                   Insurance Company and David and
                                                   Heather Donovan

                                                   electronically signed Ronald W. Harmeyer

                                                   By: Ronald W. Harmeyer
                                                   State Bar No. 1026S79

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          Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 4 of 8
     Case 2020CV000350       Document 2         Filed 10-19-2020       Page 3 of7
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        Plaintiffs,
                                                      Case Code: 30201
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TITEFLEX CORPORATION
1116 Vaughn Parkway
Portland, TN 37148

        Defendant.


                                          COMPLAINT


        Plaintiffs American Family Mutual Insurance Company, and David and Heather

Donovan, for their complaint against the above-named defendant, state:

                                            PARTIES
1. Plaintiff American Family Mutual Insurance Company ("American Family'') is a domestic

     company licensed to sell insurance in the State of Wisconsin. Its principal place of business

     is located at 6000 American Parkway, Madison, Wisconsin.

2. Plaintiffs David and Heather Donovan (collective, "the Donovans'') are adult residents of

     Wisconsin who reside at 1448 Quail Run, New Richmond, W'ISCOnsin.
         Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 5 of 8
    Case 2020CV000350       Document 2          Filed 10-19-2020        Page 4 of7




3. Defendant Titeflex Corporation ("Titeflex'') is a foreign business incorporated under the laws

    of Connecticut Its principal place of business is located at 1116 Vaughn Parkway, Portland,

    Tennessee. Its registered agent for service ofprocess is CT Corporation System, 67 Burnside

    Avenue, East Hartford, Connecticut.

                                              FACTS
4. Titeflex designed, engineered, manufactured, introduced into the stream of commerce and

    sold corrugated stainless steel tubing under the brand name Gastite (''the Gastite CSST'').

S. Corrugated stainless steel tubing is sold as a product to be used in the construction of

    buildings as part of the natural gas or LP gas distribution system within the building. It

    transmits the gas through the building and to the appliances using the gas as fuel.

6. The Gastite CSST was installed in two houses:

       a. The first house was owned by Corey and Sara Ashmore and located at 1156 132nd

           Avenue, New Richmond, Wisconsin.

       b. The second house was owned by the Donovans and located at 1155 134th Avenue,

           New Richmond, Wisconsin.

    The Ashmores' house and the Donovans• houses are neighboring houses.

7. The Gastite CSST was installed in both houses consistent with all instructions and warnings

   provided with the product. Specifically, in both houses it was properly bonded.

8. OnApril 17, 2019, a lightning strike occurred near the two houses. As a result, electricity

    from the lighting transmitted to the two houses and energized the stainless steel metal in the

   Gastite CSST. In both houses, the electricity arced from the Gastite CSST to adjacent metal.

   In both houses, the arc caused a hole to melt in the Gastite CSST.
         Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 6 of 8
   Case 2020CV000350         Document 2          Filed 10-19-2020         Page 5 of7




9. In both houses, once the hole had formed int the Gastite CSST, gas escaped and filled the

    houses. The leaking gas came into contact with an ignition source and ignited. The result was

    that both houses exploded. The houses and their contents were substantially damaged. The

    houses were no longer habitable.

10. At the time of the explosion, American Family had issued to the Ashmore and to the

    Donovans, and there were in full force and effect, policies of insurance that insured the

    Ashmore and the Donovans against the damages caused by the explosion. As required by,

    and pursuant to its policies, American Family paid to, or on behalf of, its insureds for the

    damages caused by the explosion, up to its policy limits and less any applicable deductible,

    and is subrogated to the rights of its insureds to the extent of its payments.

11. The Donovans incurred damages in excess of their policy limits.

               FIRST CAUSE OF ACTION; STRICT PRODUCT LIABILITY
12. Plaintiffs incorporate herein by reference the preceding paragraphs.

13. The Gastite CSST contained a design defect which created a foreseeable risk which could

   have been avoided by the adoption of a reasonable design alternative. In fact, Titeflex now

    sells a revised version of Gastite CSST which, according to its web site:

                 FlashShield® and FlashShield+™ flexible gas piping systems
                 deliver industry leading household fault current and lightning
                 protection. Both products utilize a metallic-shield within their
                 protective jackets to handle hi-voltage risks associated with
                 lightning strikes . . ..

14. The design defect in the Gastite CSST manifests itself when it is installed in areas of the

   country, such as Wisconsin, where lightning strikes are common and foreseeable. The

    stainless steel wall of the tube is so thin that it melts during the fraction of a second that the
         Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 7 of 8
    Case 2020CV000350       Document 2         Filed 10-19-2020        Page 6 of7




    electricity arcs from the CSST to adjacent metal. This is a defect commonly known to

    manufacturers of corrugated stainless steel tubing, and is the reason Titeflex evolved the

    Gastite CSST into the FlashShield® and FlashShield+™ flexible gas piping systems.

15. The defective condition of the Gastite CSST rendered it unreasonably dangerous to the

    Ashmores' and Donovans' houses and property.

16. The defective condition existed at the time the Gastite CSST left the control ofTitetlex.

17. The Gastite CSST reached the Ashmores and the Donovans without substantial change int he

    condition in which it was sold.

18. The defective condition of the Gastite CSST was the cause of the gas leak, explosion and

    resulting damages.

                      SECOND CAUSE QFACTIQN; NEGllGENCE
19. Plaintiffs incorporate herein by reference the preceding paragraphs.

20. Titeflex had a duty to use reasonable care when designing and marketing the Gastite CSST.

21. Titeflex breach its duty in the following and other ways:

       a. It failed to consider whether corrugated stainless steel tubing was an appropriate

           product to be installed in geographic areas susceptible to lightning strikes (contrary to

           the considerations it made when designing the FlashShield® and FlashShield+™

           flexible gas piping systems).

       b. It failed to determine what effects a lightning strike would have on Gastite CSST

           (contrary to the determinations it made when designing the FlashShield® and

           FlashShield+™ flexible gas piping systems).
           Case: 3:21-cv-00066 Document #: 1-1 Filed: 01/29/21 Page 8 of 8
    Case 2020CV000350         Document 2         Filed 10-19-2020        Page 7 of7




          c. It failed to design Gastite CSST to withstand lightning strikes (contrary to how it

              designed the FlashShield® and FlashShield+TM flexible gas piping systems).

          d. It failed to warning customers that Gastite CSST was susceptible to failure if a home

              became energized by a lightning strike (as is common in Wisconsin) and should not

              be used in such areas.

          e. Its instructions gave consumers the false impression that so long as the Oastite CSST

              was properly bonded, it would be able to withstanding the energization and arcing

              from a lightning strike.

22. Titeflex's brach of its duty was a cause of the gas leak, explosion and resulting damages.

          WHEREFORE, plaintiffs demand judgment against the defendant in an amount to be

determined, plus prejudgment interest, all taxable costs and fees, and all other just and equitable

relief.

Dated: October 18, 2020
                                                       RON HARMEYER LAW OFFICE LLC
                                                       Attorneys for American Family Mutual
                                                       Insurance Company and David and
                                                       Heather Donovan

                                                       electronically signed Ronald W. Harmeyer

                                                       By: Ronald W. Harmeyer
                                                       State Bar No. 1026579

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